Case 19-30258-KLP                Doc 627      Filed 04/09/19 Entered 04/09/19 20:26:39                         Desc Main
                                             Document     Page 1 of 10



     Dennis F. Dunne, Esq. (admitted pro hac vice)                               Michael A. Condyles, Esq. (VA 27807)
     Evan R. Fleck, Esq. (admitted pro hac vice)                                 Peter J. Barrett, Esq. (VA 46179)
     Michael W. Price, Esq. (admitted pro hac vice)                              Jeremy S. Williams, Esq. (VA 77469)
     MILBANK LLP                                                                 Brian H. Richardson, Esq. (VA 92477)
     55 Hudson Yards                                                             KUTAK ROCK LLP
     New York, New York 10001                                                    901 East Byrd Street, Suite 1000
     Telephone: (212) 530-5000                                                   Richmond, Virginia 23219-4071
     Facsimile:    (212) 530-5219                                                Telephone:      (804) 644-1700
                                                                                 Facsimile:      (804) 783-6192

     Co-Counsel to Debtors in Possession


                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA
                                       RICHMOND DIVISION

                                                                          )
     In re:                                                               )       Chapter 11
                                                                          )
     GYMBOREE GROUP, INC., et al.,1                                       )       Case No. 19-30258 (KLP)
                                                                          )
                                 Debtors.                                 )       (Jointly Administered)
                                                                          )

 STIPULATION BY AND AMONG THE DEBTORS, THE DIP AGENT, AND THE OFFICIAL
 COMMITTEE OF UNSECURED CREDITORS WITH RESPECT TO THE DIP BUDGET AND
                          RELATED MATTERS

                This stipulation (the “Stipulation”) is made and entered into, through their respective

 undersigned counsel, by and among (i) the above-captioned debtors-in-possession (the “Debtors”),

 (ii) Special Situations Investing Group, Inc., as administrative agent and collateral agent (the “DIP

 Agent”), for and on behalf of itself and the DIP Lenders, and (iii) the Official Committee of




 1
        The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
        Gymboree Group, Inc. (6587); Gymboree Intermediate Corporation (1473); Gymboree Holding Corporation
        (0315); Gymboree Wholesale, Inc. (6588); Gym-Mark, Inc. (6459); Gymboree Operations, Inc. (6463);
        Gymboree Distribution, Inc. (8669); Gymboree Manufacturing, Inc. (6464); Gymboree Retail Stores, LLC
        (6461); Gym-Card, LLC (5720); and Gymboree Island, LLC (1215). The Debtors’ service address is 71
        Stevenson Street, Suite 2200, San Francisco, California 94105.


 43470.0000143470.00001
 4827-4352-9353
Case 19-30258-KLP        Doc 627    Filed 04/09/19 Entered 04/09/19 20:26:39            Desc Main
                                   Document     Page 2 of 10



 Unsecured Creditors (the “UCC” and collectively with the Debtors and the DIP Agent, the

 “Parties”).

                                             Recitals

        WHEREAS, on January 16, 2019 (the “Petition Date”), the Debtors filed voluntary

 petitions for relief under chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101-1532

 (as amended, the “Bankruptcy Code”).

        WHEREAS, on January 17, 2019, the Court entered the Interim Order (I) Authorizing the

 Debtors to Obtain Postpetition Financing, (II) Authorizing the Debtors to Use Cash Collateral,

 (III) Granting Liens and Providing Superpriority Administrative Expense Status, (IV) Granting

 Adequate Protection to the Prepetition Lenders, (V) Modifying Automatic Stay, (VI) Scheduling a

 Final Hearing, and (VII) Granting Related Relief [Docket No. 81] (the “Interim DIP Order”).

        WHEREAS, on February 15, 2019, the Court entered the Final Order (I) Authorizing the

 Debtors to Obtain Postpetition Financing, (II) Authorizing the Debtors to Use Cash Collateral,

 (III) Granting Liens and Providing Superpriority Administrative Expense Status, (IV) Granting

 Adequate Protection to the Prepetition Lenders, (V) Modifying Automatic Stay, (VI) Scheduling a

 Final Hearing, and (VII) Granting Related Relief [Docket No. 348] (the “Final DIP Order”).

        WHEREAS, on March 4, 2019, the Court entered the Order (I) Approving the Sale of

 Certain J&J Assets Free and Clear of Liens, Claims, Interests and Encumbrances and

 (II) Approving the Assumption and Assignment of Executory Contracts and Unexpired Leases in

 Connection Therewith, and (III) Granting Related Relief [Docket No. 484] (the “JJ Sale Order”).

        WHEREAS, on March 4, 2019, the Court entered the Order (I) Approving the Sale of

 Certain Gymboree and Crazy 8 Assets Free and Clear of Liens, Claims, Interests and

 Encumbrances and (II) Approving the Assumption and Assignment of Executory Contracts and




                                                 2
Case 19-30258-KLP        Doc 627    Filed 04/09/19 Entered 04/09/19 20:26:39            Desc Main
                                   Document     Page 3 of 10



 Unexpired Leases in Connection Therewith, and (III) Granting Related Relief [Docket No. 487]

 (the “Gym/Crazy 8 Sale Order”, and together with the JJ Sale Order, the “Sale Orders”).

        WHEREAS, on March 5, 2019, the Debtors filed Notice of Closing Date of J&J Sale

 [Docket No. 494] (the “J&J Sale Closing Notice”).

        WHEREAS, on or before March 9, 2019, the Debtors (with the permission of the DIP

 Lender) used cash collateral and/or sale proceeds to “true up” the Professional Fee Escrow (as

 defined below) for any unpaid amounts budgeted and/or incurred by the Case Professionals (as

 defined in the Final DIP Order) as of such date less $1.5 million with respect to the fees earned

 and expenses incurred by the Debtors’ professionals.

        WHEREAS, on April 4, 2019, the Debtors filed Notice of Closing Date of Sale of

 Gymboree and Crazy 8 Assets to TCP Brands, LLC [Docket No. 614] (the “Gym/Crazy 8 Sale

 Closing Notice”, and together with the J&J Sale Closing Notice, the “Sale Closing Notices”).

         WHEREAS, the Parties wish to memorialize their understanding regarding certain

 matters with respect to the use of estate cash, the DIP Budget and related matters.

        NOW THEREFORE, THE PARTIES HEREBY STIPULATE AND AGREE AS

 FOLLOWS:

        1.      Attached hereto as Exhibit A shall constitute the approved budget (“Approved

 Budget”) in the manner contemplated by DIP Agreement (as defined herein).

        2.      The DIP Loans will be paid down by $100 million from the proceeds of the sales

 approved pursuant to the Sale Orders within one business day (the “Payment Date”) following the

 date on which this Stipulation has been fully executed. The Debtors may make additional

 payments of principal on the DIP Loan, subject to the Debtors’ prior satisfaction of the Specified




                                                  3
Case 19-30258-KLP            Doc 627      Filed 04/09/19 Entered 04/09/19 20:26:39                       Desc Main
                                         Document     Page 4 of 10



 Obligations and the monetization of the Debtors’ lease at 71 Stevenson Street, San Francisco,

 California 94105.
                                     2
         3.       The DIP Agent will utilize its best efforts (and the Debtors will support the DIP

 Agent in such efforts) to provide (or to cause an affiliate of the DIP Agent to provide, including

 from a regulated bank affiliate) back-to-back and/or replacement letters of credit (or a substantially

 similar structure) (the “Replacement Letters of Credit”) with respect to the letters of credit issued

 by Bank of America, National Association (the “Prepetition ABL Agent”), which were cash

 collateralized pursuant to the Interim DIP Order and supported by the Debtors’ customs bonds (the

 “Subject Letters of Credit”), such that the cash collateral securing the Subject Letters of Credit can

 be released for the benefit of the estates (the “LC Monetization”) on or before April 19, 2019. The

 Replacement Letters of Credit shall not be secured by cash collateral. Without limiting the

 foregoing, after May 9, 2019, the Debtors shall have discretion (to the extent the LC Monetization

 has not yet occurred) to engage in efforts and, upon three (3) business days’ written notice to the

 DIP Agent and the UCC (with copy by email to counsel of record for each), enter into transactions

 to monetize the Subject Letters of Credit for the benefit of the estates, and the DIP Lender agrees

 to support such efforts and transactions unless the DIP Agent believes the Debtors are acting

 unreasonably (including, without limitation, by entering into a transaction that results in the estates

 receiving less than reasonable value in connection with such monetization), in which case the DIP

 Agent may seek relief from the Court on an expedited basis to prevent the Debtors from

 consummating any transaction; provided, however, that nothing herein shall relieve the Debtors of

 any obligation under the Bankruptcy Code (including, without limitation, under Section 363) to


 2
     Each capitalized term used but not defined herein has the meaning set forth in the Superiority Secured Debtor-in-
     Possession Credit Agreement dated as of January 18, 2019 (as the same may be amended, extended, restated,
     supplemented, waiver or otherwise modified from time to time, the “DIP Agreement”).



                                                          4
Case 19-30258-KLP            Doc 627     Filed 04/09/19 Entered 04/09/19 20:26:39                      Desc Main
                                        Document     Page 5 of 10



 seek and receive Court approval with respect to any transaction entered into outside of the ordinary

 course of business.

         4.       Upon the occurrence of the LC Monetization, the Debtors shall pay all outstanding

 WARN Act obligations and fully fund the Professional Fee Escrow, including the deferred
                                                                                              3
 amounts discussed in the foregoing paragraph (the “Specified Obligations”).                      The DIP Agent

 acknowledges and agrees that upon the occurrence of the LC Monetization (whether before or after

 the date specified in paragraph 3 above), the Debtors may use cash collateral to satisfy the

 Specified Obligations and that the DIP Agent consents to, and shall not object to or otherwise

 oppose, the use of cash collateral for such purpose.

         5.       As soon as practicable following the Payment Date, the Debtors shall pay all

 outstanding amounts of “stub rent” for the period from the Petition Date through the end of January

 31, 2019 in the amount set forth in the Approved Budget (the “January Rent”). The Challenge

 Deadline (as defined in the Final DIP Order) shall be extended to April 30, 2019, unless further

 extended by agreement of the parties hereto or by Order of Court. Upon the timely payment of

 the January Rent, the Challenge Deadline (as defined in the Final DIP Order) with respect to the

 UCC will be deemed to have terminated. In exchange for the promises set forth herein, the UCC

 agrees that (a) it will not bring a Challenge (as defined in the Final DIP Order) on or before April

 12, 2019, and (b) it will not bring a Challenge at any time after the budgeted January Rent has

 been paid in full.

         6.       The DIP Agent, on behalf of itself and the DIP Lenders, confirms that (i) it supports

 the Debtors’ payment of the outstanding fees of the Debtors’ and UCC’s professionals that have


 3
     The Debtors hereby represent and warrant that, to the best of their knowledge, the amount set forth in the
     Approved Budget is sufficient to satisfy, among other things, any and all existing WARN Act related liabilities
     and amounts that are owed or otherwise payable by the Debtors or their estates.



                                                         5
Case 19-30258-KLP          Doc 627    Filed 04/09/19 Entered 04/09/19 20:26:39           Desc Main
                                     Document     Page 6 of 10



 been submitted to the Court and (ii) the success and transaction fees as contemplated by the

 respective engagement letters of Miller Buckfire & Co., LLC and its affiliate, Stifel, Nicolaus &

 Co., Inc. (collectively, “Miller Buckfire”) and Berkeley Research Group, LLC (“BRG”) and as

 delineated in the Approved Budget have been fully earned.

        7.         All professional fees to be escrowed or reserved hereunder or under the Final DIP

 Order shall be maintained in an escrow account maintained at Citibank (the “Professional Fee

 Escrow”), which shall serve as the Fee Reserve Account (as such term is defined in the Final DIP

 Order) and shall not be property of the estates.

        8.         The DIP Agent confirms that overages and underages (as compared to the amounts

 contained in the Approved Budget) with respect to Case Professional’s fees and expenses can be

 applied during any Testing Period and will be tested on a cumulative basis across all Case

 Professionals for variance testing purposes.

        9.         The DIP Agent, for and on behalf of the DIP Lenders, hereby waives all Events of

 Default occurring on or prior to the date hereof under the Credit Agreement (collectively, the

 “Existing Defaults”). For avoidance of doubt, the waiver of the Existing Defaults shall not

 constitute a waiver of any future Events of Default occurring after the date hereof.

        10.        Any actual savings realized against the amounts set forth in the Approved Budget,

 together with any excess cash that is not necessary to pay budgeted expenses set forth in the

 Approved Budget (as determined by the parties in good faith), in each case, as measured at the end

 of the Store Closing Sale period, shall be used to pay down the DIP Loan immediately upon

 reconciliation.

        11.        The DIP Agreement and the Final DIP Order shall be deemed amended by this

 Stipulation to provide for the foregoing. Notwithstanding anything in the Sale Orders or Final DIP




                                                    6
Case 19-30258-KLP         Doc 627     Filed 04/09/19 Entered 04/09/19 20:26:39             Desc Main
                                     Document     Page 7 of 10



 Order, the Parties consent to the terms of this Stipulation, including with respect to the use of the

 proceeds of the sales.

        12.     The UCC agrees to use commercially reasonable efforts to negotiate and support a

 mutually acceptable plan of reorganization with the Parties.

        13.     This Stipulation constitutes the entire agreement among the parties hereto regarding

 the subject matter hereof.

        14.     This Stipulation may be executed in one or more counterparts and by facsimile or

 electronic copy, all of which shall be considered effective as an original signature.

        15.     The parties acknowledge that this Stipulation is their joint work product and that,

 accordingly, in the event of ambiguities in this Stipulation, no inferences shall be drawn against

 either party on the basis of authorship of this Stipulation.

        16.     The Bankruptcy Court shall retain exclusive jurisdiction with respect to all matters

 arising from or related to the implementation or interpretation of this Stipulation.

                              [Remainder of page intentionally left blank]




                                                   7
Case 19-30258-KLP         Doc 627    Filed 04/09/19 Entered 04/09/19 20:26:39              Desc Main
                                    Document     Page 8 of 10



        IN WITNESS WHEREOF and in agreement herewith, by and through the undersigned,

 the Parties have executed and delivered this Stipulation as of the date first set forth below.

 Dated: April 9, 2019


   /s/ Evan R. Fleck                                        /s/ W. Austin Jowers
  Dennis F. Dunne, Esq. (admitted pro hac vice)           W. Austin Jowers (admitted pro hac vice)
  Evan R. Fleck, Esq. (admitted pro hac vice)             Christopher G. Boies (admitted pro hac vice)
  Michael W. Price, Esq. (admitted pro hac vice)          Michael R. Handler (admitted pro hac vice)
  MILBANK LLP                                             KING & SPALDING LLP
  55 Hudson Yards                                         1185 Avenue of the Americas 35th Floor
  New York, New York 10001                                New York, New York 10036
  Telephone: (212) 530-5000                               Telephone: (212) 556-2100
  and                                                     and
  Michael A. Condyles, Esq. (VA 27807)                    Dion W. Hayes (VSB No. 34304)
  Peter J. Barrett, Esq. (VA 46179)                       Douglas M. Foley (VSB No. 34364)
  Jeremy S. Williams, Esq. (VA 77469)                     Sarah B. Boehm (VSB No. 45201)
  Brian H. Richardson, Esq. (VA 92477)
  KUTAK ROCK LLP                                          MCGUIREWOODS LLP
  901 East Byrd Street, Suite 1000                        Gateway Plaza
  Richmond, Virginia 23219-4071                           800 East Canal Street
  Telephone:      (804) 644-1700                          Richmond, Virginia 23219
  Facsimile:      (804) 783-6192                          Telephone: (804) 775-1000
  Counsel to the Debtors                                  Counsel to the DIP Lender


    /s/ Bradford J. Sandler
  Robert J. Feinstein, Esq. (admitted pro hac vice)
  Bradford J. Sandler, Esq. (admitted pro hac vice)
  PACHULSKI STANG ZIEHL & JONES LLP
  780 Third Avenue, 34th Floor
  New York, New York 10017-2024
  Telephone: (212) 561-7700
  and
  Christopher A. Jones (VSB # 40064)
  Vernon E. Inge, Jr. (VSB # 32699)
  Michael E. Hastings (VSB # 36090)
  Jennifer E. Wuebker (VSB # 91184)
  WHITEFORD, TAYLOR & PRESTON, LLP
  901 E. Cary Street, Suite 500
  Richmond, Virginia 23219-4063
  Telephone: (804) 977-3300
  Counsel to the UCC
Case 19-30258-KLP   Doc 627    Filed 04/09/19 Entered 04/09/19 20:26:39   Desc Main
                              Document     Page 9 of 10



                                     Exhibit A
                                                                                            Case 19-30258-KLP            Doc 627 Filed 04/09/19 Entered 04/09/19 20:26:39             Desc Main
                                                                                                                                Document    Page 10 of 10
Project Gemstone
Cash Flow Summary
($ in 000's)

                                                     01/19       01/26       02/02       02/09       02/16       02/23       03/02      03/09      03/16      03/23      03/30      04/06      04/13      04/20     04/27     Total Weekly   Wind      Remaining     Grand Total
Forecast / Actual                                     Act         Act         Act         Act         Act         Act         Act        Act        Act        Act        Act        Fcst       Fcst       Fcst      Fcst       Forecast     Down        Claims
Collections
  JJ Sale (Excl. Direct Wire to JV)                     -            -           -           -           -           -        1,645     43,915        -          -          -           -          -         -         -          45,560        -             -           45,560
  GYM & C8 IP Sale                                      -            -           -           -           -           -          -          -       11,100        -          -        64,900        -         -         -          76,000        -             -           76,000
  Stores and E-Commerce                               2,597          -           -           -           -           -          -          -          -          -          -           -          -         -         -           2,597        -             -            2,597
  Inventory Liquidation Proceeds                    136,796          -           -           -           -           -          -          -          -          -          -           -        9,271       -         -         146,067        -             -          146,067
  Augment                                             2,000          -           -           -           -           -          -          -          -          -          -           -          -         -         -           2,000        -             -            2,000
  FF&E Proceeds                                       1,000          -           -           -           -           -          -          -          -          -          -           -          -         -         -           1,000        750           -            1,750
  LC Recovery / Monetization                            -            -           -           -           -           -          -          -          -          -          -           -          -       5,500       -           5,500      9,280           -           14,780
  Liquidator Expense Funding                         12,353          -         1,823       5,670       1,593       7,384      2,990      3,474      3,789      5,489      4,830       3,526      3,112     2,799     1,396        60,229        222           -           60,451
  Other Receipts                                        593          178         631           6         296         128          67         59         4        -            58        -          -         -         -           2,020        500           -            2,520
Total Collections                                   155,339          178       2,454       5,676       1,889       7,512      4,702     47,448     14,893      5,489      4,888      68,426     12,383     8,299     1,396       340,972     10,752           -          351,725
Operating Disbursements
  Freight, Duty, Shipping & DC Processing                  (1)    (1,478)     (3,550)     (1,196)       (211)     (4,557)     (1,342)      (669)      (675)    (2,491)       -         (431)      (102)      -         -         (16,702)       -             -          (16,702)
  Payroll & Related                                      (17)     (7,152)       (688)     (6,857)       (812)     (6,996)     (1,784)    (5,557)      (427)    (4,372)      (316)    (3,858)    (1,185)   (3,037)   (1,618)      (44,673)    (1,501)          -          (46,174)
  Other Operating Disbursements                            (9)      (225)       (425)       (628)       (247)       (109)       (902)      (273)      (961)    (1,189)    (1,660)      (605)      (929)     (454)   (1,318)       (9,932)    (5,679)          -          (15,611)
  Occupancy (Stores, HQ, & DC)                           -           -        (9,179)          (1)       -           (43)       (461)    (3,373)      (146)    (2,016)    (2,908)    (1,362)    (1,288)   (1,049)   (1,404)      (23,230)    (1,200)          -          (24,430)
  Sales & Other Taxes                                    -        (1,709)        -           -           -        (2,500)     (2,937)       (84)      (381)       -          -          -          -         -      (1,500)       (9,111)       -             -           (9,111)
Total Operating Disbursements                            (28)    (10,563)    (13,842)     (8,682)     (1,269)    (14,204)     (7,427)    (9,956)    (2,590)   (10,067)    (4,883)    (6,256)    (3,504)   (4,539)   (5,839)     (103,648)    (8,380)          -         (112,028)
Non-Operating Disbursements
  Professional Fees & Escrow Funding                  (2,280)        -        (1,325)     (2,451)     (1,321)     (1,126)     (1,126)    (7,266)     (910)        -       (1,474)      (652)      (652)   (2,161)   (1,111)      (23,855)    (3,488)          -          (27,343)
  Donation Liability                                     -           -           -           -          (618)        -           -          -         -           -          -          -          -         -         -            (618)       -             -             (618)
  Inventory Taking                                       -           -           -                       -           -           -          -         -           -          -          -          -         -         -             -          -             -              -
  Utility Deposits                                       -           -          (410)        -           -           -           -          -         -           -          -          -          -         -         -            (410)       410           -              -
  Stub Rent                                              -           -           -           -           -           -           -          -         -           -          -          -       (3,015)      -         -          (3,015)       -             -           (3,015)
  503(b)(9)                                              -           -           -           -           -           -           -          -         -           -          -          -          -         -         -             -          -          (9,000)        (9,000)
  Employee Programs                                      -           -           -           -           -           -           -          -         -        (1,535)       -          (86)      (581)   (4,822)     (680)       (7,704)       -             -           (7,704)
  Return Canada Proceeds Funded to US                    -           -        (1,900)        -           -           -           -          -         -           -          -         (712)       -         -         -          (2,612)       -             -           (2,612)
Total Non-Operating Disbursements                     (2,280)        -        (3,635)     (2,451)     (1,938)     (1,126)     (1,126)    (7,266)     (910)     (1,535)    (1,474)    (1,450)    (4,249)   (6,983)   (1,791)      (38,214)    (3,078)       (9,000)       (50,292)
Net Book Cash Flow Before Financing                 153,032      (10,385)    (15,023)     (5,457)     (1,319)     (7,819)     (3,851)   30,226     11,394      (6,113)    (1,469)    60,720      4,631    (3,223)   (6,234)      199,110       (706)       (9,000)       189,404
Financing Activity
   GS DIP Tranche A - Funding / (Pay Down)            10,000         -           -           -           -           -           -           -        -           -          -          -      (10,000)      -         -             -          -             -              -
   GS DIP Tranche B                                      -         7,475       4,863       1,923         479       4,620         641         -        -           -          -          -         (955)      -         -          19,044        -         (19,044)           -
   GS Roll Up                                            -           -           -           -           -           -           -           -        -           -          -          -      (89,045)      -         -         (89,045)       -             -          (89,045)
   Revolver Pay Down                                 (80,702)        -           -           -           -           -           -         -          -           -          -          -          -         -         -         (80,702)       -             -          (80,702)
   Cash Collateralize LCs (105% of Face Value)       (44,632)        -           -           -           -           -           -         -          -           -          -          -          -         -         -         (44,632)       -             -          (44,632)
   Other Fees and Reserves                              (877)        -           -           -           -           -           -         -          -           -          -          -          -         -         -            (877)       -             -             (877)
   DIP Fees & Interest                                  (700)        -           -           -           -        (1,236)        -         -          -           -          -          -          -         -         -          (1,936)        -         (2,015)        (3,951)
Net Book Cash Flow After Financing                    36,121      (2,910)    (10,161)     (3,534)       (840)     (4,435)     (3,209)   30,226     11,394      (6,113)    (1,469)    60,720    (95,369)   (3,223)   (6,234)          963       (706)      (30,059)       (29,802)
Cash Balance
Beginning Book Cash Balance                            1,332      37,453      34,543      24,382      20,848      20,008     15,573     12,364     42,590     53,984     47,871      46,915    107,635    12,266     9,043         1,332      2,808         2,102          1,332
  Net Cash Flow                                       36,121      (2,910)    (10,161)     (3,534)       (840)     (4,435)    (3,209)    30,226     11,394     (6,113)    (1,469)     60,720    (95,369)   (3,223)   (6,234)          963       (706)      (30,059)       (29,802)
  Cash Flow True Up                                      -           -           -           -           -           -          -          -          -          -          513         -          -         -         -             513        -             -              513
Ending Cash Balance                                   37,453      34,543      24,382      20,848      20,008      15,573     12,364     42,590     53,984     47,871     46,915     107,635     12,266     9,043     2,808         2,808      2,102       (27,957)       (27,957)

Anticipated Ordinary Business Expense Shortfalls
  Corporate Rent                                          -           -          461          33          -           -         371          -          -         -         353         -           -        -        109          1,326        -             -            1,326
  Non Reimburseable Corp Personnel Exp.                   -        5,824         449       1,216         169         995        641          -          -        767        304        361          -       384        -          11,111        -             -           11,111
  Customs & Freight                                       -        1,277       3,459         315         210       3,618         -           -          -         -          -          -           -        -         -           8,879        -             -            8,879
  Prepetition AP (OpEx)                                   -          373         468         360         125            5        -           -          -         -          -          -           -        -         -           1,330        -             -            1,330
  Other (Suntrust Banking Fee)                            -           -           -           -           -             2        -           -          -         -          -          -           -        -         -               2        -             -                2
Total                                                     -        7,475       4,838       1,923         504       4,620      1,012          -          -        767        657        361          -       384       109         22,649        -             -           22,649

Note: excludes Gap TSA funding and disbursement and collections / pass through of collections for liquidating stores




                                                                                                                         DRAFT - PRIVILEGED AND CONFIDENTIAL                                                                                                                  4/9/2019
                                                                                                                             SUBJECT TO MATERIAL CHANGE                                                                                                                      Page 2 of 3
